        Case 2:17-cv-01289-RDP              Document 1          Filed 08/01/17      Page 1 of 4                 FILED
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                                                                                                       U.S. DISTRICT COURT
                                                                                                           N.D. OF ALABAMA


                             IN UNITED STATES DISTRICT COURT
                           FOR NORTHERN DISTRICT OF ALABAMA
                                      Southern Division

LAURA SNYDER, individually and on                )
behalf of similarly situated employees.          )
                                                 )
       Plaintiff.                                )
                                                 )
vs.                                              )          Case No. 17-cv-_______-_____
                                                 )
BLUE ROCK PARTNERS LLC and                       )
REUVEN ODED,                                     )
                                                 )
       Defendants.                               )

                                              COMPLAINT

                                         Jurisdiction and Venue

1.     The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331, 1332, 1343(k), 29 USCA

       § 206, 207, 216, et seq., 29 U.S.C. § 1132 and/or by the provisions of 28 USCA § 1337, relating

       to any civil action or proceeding arising under any Act of Congress regulating commerce.

2.     This is a suit authorized and instituted pursuant to §§ 201- 219, et seq., as amended (29 USCA §§

       201-219) of the Fair Labor Standards Act (hereinafter “the FLSA” to recover unpaid wages,

       liquidated damages, attorney fees, pre-judgment interest, costs, expenses and all other damages

       that the Plaintiff is entitled to under the FLSA.

3.     The jurisdiction of this Court is invoked to secure protection for and to redress the deprivation of

       rights secured by the FLSA for injunctive and other compensatory relief.

4.     The Defendant managed several properties in Jefferson County, Alabama. The Plaintiff worked at

       one of the properties located in Jefferson County, Alabama. Venue is proper in the United States

       District Court of Alabama, Southern Division.

                                                  Parties

5.     The Plaintiff, Laura Snyder, is an adult citizen of the United States and a resident of Jefferson

       County, Alabama. She brings this lawsuit on her individual behalf and on behalf of similarly

       situated employees.
      Case 2:17-cv-01289-RDP             Document 1         Filed 08/01/17       Page 2 of 4




6.    The Defendant, Blue Rock Partners, LLC, (hereinafter “Blue Rock” or is a Florida Limited

      Liability Company.

7.    Based upon information and belief, Reuven Oded (hereinafter “Oded”) is the sole owner/member

      and/or manager of Blue Rock.

                                                Facts

8.    At all relevant times herein, the Plaintiff was an employee, as defined by the FLSA, for Blue

      Rock and Oded (hereinafter the “Defendants”).

9.    The Plaintiff worked as a leasing agent for Blue Rock’s predecessor, Landmark, and was

      employed by the Defendant from May 28, 2015 through approximately November 20, 2015.

10.   The Plaintiff’s employment with the Defendants ceased, according to the owner of the property,

      when Blue Rock’s contract was terminated by the owner due to mismanagement, fraud, employee

      theft, employee kickbacks and gross negligence.

11.   The Plaintiff was classified as a “non-exempt” employee pursuant to the FLSA and was paid an

      hourly rate of $14 per hour.

12.   The Defendants had a strict policy, which was implemented by local management, that leasing

      agents and other non-exempt employees that worked in the office were not to work overtime.

13.   The employees were instructed, per Oden’s direct communications with local management, that

      employees would be fired if they worked overtime.

14.   The Plaintiff worked an average of 60 hours per week but, because she was told that she was not

      paid overtime, she would “clock out” and work “off the clock” after normal office hours, and/or

      not “clock in” during hours she came in early and/or when she worked on weekends.

15.   The Defendants knew and/or should have known that the Plaintiff and other similarly situated

      employees were not able to complete their work in a “40 hour work week” and that the Plaintiff

      and other similarly situated employees were working early, late and/or on weekends.

16.   The Defendant failed to pay Plaintiff for the hours she worked in excess of forty hours per week.

                           Count I: Fair Labor Standards Act Violations

17.   The Plaintiff incorporates by reference the preceding allegations of this Complaint.
           Case 2:17-cv-01289-RDP              Document 1          Filed 08/01/17       Page 3 of 4




18.       The Plaintiff worked in excess of forty hours per week and was not paid overtime pursuant to the

          FLSA.

19.       The Defendant is liable under the FLSA to pay the Plaintiff $21 per hour for the hours she

          worked in excess of 40 hours per week.

20.       Other similarly situated employees would also work “off the clock” because they were not able to

          complete their work in a forty hour work week

                                               Prayer for Relief

          WHEREFORE, PREMISES CONSIDERED, the Plaintiff requests this Court to assume

jurisdiction of this matter and award the Plaintiff the following damages and relief:

      A. Grant Plaintiffs an order requiring Defendant to make Plaintiffs whole by granting any and all

          relief available under federal and state law, whether specifically pled or not, and including, but

          not limited to: appropriate declaratory relief, back pay, compensatory damages, liquidated

          damages, pre-judgment interest, damages, etc.

      B. Grant the Plaintiff a permanent injunction enjoining the Defendants, their agents, successors,

          employees, attorneys and those acting in concert with Defendant from continuing to violate the

          FLSA;

      C. Award the Plaintiff attorney’s fees, costs and expenses.

      D. Plaintiff prays for such other, further or different relief as justice may require and/or which she is

          entitled to under either federal and/or state laws, whether specifically pled or not.



                               PLAINTIFF DEMANDS A TRIAL BY JURY


                                                                     __________________________
                                                                     Scott Harwell (HAR198)
                                                                     Counsel for the Plaintiff

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        Case 2:17-cv-01289-RDP            Document 1   Filed 08/01/17   Page 4 of 4



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